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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                  DETROIT OFFICE

TAMEKA BATES,                                           )
                                                        )
                        Plaintiff,                      )       2:17-cv-12628-PDB-EAS
                                                        )
        v.                                              )
                                                        )       Judge Borman
                                                        )       Magistrate Judge Stafford
NAVIENT SOLUTIONS, LLC,                                 )
and UNITED STUDENT AID                                  )
FUNDS, INCORPORATED,                                    )
                                                        )
                        Defendants.                     )

       NOTICE OF SETTLEMENT AND REQUEST TO STAY ALL DEADLINES

        Plaintiff, TAMEKA BATES, hereby respectfully apprises this Honorable Court that the

parties have negotiated a settlement of the above-captioned matter. Plaintiff further states as

follows:

        1.      The parties have reached a settlement accord and are currently in the process of

preparing formal documents necessary to memorialize the pertinent terms and conditions of the

parties’ settlement agreement.

        2.      Given the imminence of the parties’ finalizing the terms of the settlement

agreement, Plaintiff respectfully requests a stay of all deadlines and further requests that the parties

be excused from any appearances and any obligations for court filings.

        3.      Further, Plaintiff and Defendant have entered into a settlement agreement such that

Defendant has agreed to finalize the settlement within 45 days.

        4.      In order to ensure that this Court retain jurisdiction to enforce the settlement

agreement between the parties, should the need arise, Plaintiff requests that she be granted 45 days

within which to file an appropriate stipulation to dismiss this matter with prejudice.
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                                                           Respectfully submitted,
                                                           TAMEKA BATES

                                                     By:    s/ David M. Marco
                                                            Attorney for Plaintiff

   Dated: June 12, 2019

   David M. Marco
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                               CERTIFICATE OF SERVICE

       I certify that on June 12, 2019, I electronically filed the foregoing Notice of Settlement

with the Clerk of the Court using the CM/ECF System, which will then send such notification to

all counsel of record.



                                                     By:    s/ David M. Marco
                                                            Attorney for Plaintiff
